                 Case 4:16-cv-00282-DCB-PSOT   Document 23     Filed 05/18/16        Page 1 of 4
                                                              BRYANT,CASE−CLOSED,PRO−SE−CASE
                                        U.S. District Court
                              Middle District of Tennessee (Nashville)
                            CIVIL DOCKET FOR CASE #: 3:16−cv−00076

Tripati v. Corizon Inc. et al                              Date Filed: 01/25/2016
Assigned to: District Judge Aleta A. Trauger               Date Terminated: 05/17/2016
Cause: 42:1983 Prisoner Civil Rights                       Jury Demand: Plaintiff
                                                           Nature of Suit: 550 Prisoner: Civil Rights
                                                           Jurisdiction: Federal Question
Plaintiff
Anant Kumar Tripati                            represented by Anant Kumar Tripati
                                                              #102081
                                                              P.O. Box 24401
                                                              Tucson, AZ 85734
                                                              PRO SE


V.
Defendant
Corizon Inc.

Defendant
Calvin Johnson
Dr.

Defendant
Lucy Burciaga

Defendant
B. Anderson Flatt
c/o General Counsel

Defendant
Tracy Nolan
c/o General Counsel

Defendant
Jonathan Walker
c/o Counsel General

Defendant
Karey Witty
c/o General Counsel

Defendant
                  Case 4:16-cv-00282-DCB-PSOT   Document 23   Filed 05/18/16   Page 2 of 4
Harold Orr
Dr. c/o General Counsel

Defendant
Scott Bowers
c/o General Counsel

Defendant
Angela Martinez
R.N. Corizon Nursing Supervisor

Defendant
Tammy Porter
R.N. Corizon Facility Administrator

Defendant
Lisa Lyon
R.N. Corizon Asst. Administrator

Defendant
Glen Pacheco
Policy Maker

Defendant
Martene Bedoya
Policy Maker

Defendant
Michelle Frame

Defendant
Pan'aan Days
Policy Maker

Defendant
Anna Jacobs

Defendant
David Robertson
Dr.

Defendant
Charles L. Ryan

Defendant
Julia Erwin
                 Case 4:16-cv-00282-DCB-PSOT                Document 23          Filed 05/18/16         Page 3 of 4
Defendant
Juliette Respiuo−Moriarty

Defendant
Cheryl Dossett

Defendant
Does 1−100
Employees and Agents Unknown

Defendant
Woodrow Myers


 Date Filed        #    Docket Text

 01/26/2016        Ï1   COMPLAINT against Martene Bedoya, Scott Bowers, Lucy Burciaga, Corizon Inc., Pan'aan
                        Days, Does 1−100, Cheryl Dossett, Julia Erwin, B. Anderson Flatt, Michelle Frame, Anna Jacobs,
                        Calvin Johnson, Lisa Lyon, Angela Martinez, Tracy Nolan, Harold Orr, Glen Pacheco, Tammy
                        Porter, Juliette Respiuo−Moriarty, David Robertson, Charles L. Ryan, Jonathan Walker, Karey
                        Witty, filed by Anant Kumar Tripati.(am) (Entered: 01/26/2016)

 01/26/2016        Ï2   APPLICATION for Leave to Proceed In Forma Pauperis by Anant Kumar Tripati. (am) (Entered:
                        01/26/2016)

 01/26/2016        Ï    Notice mailed to pro se party regarding filing of new case (docket sheet &certificate of service
                        form included). (am) (Entered: 01/26/2016)

 02/02/2016        Ï3   ORDER: The application to proceed as a pauper Docket Entry No. [ 2] is DENIED, and the
                        plaintiff is directed to remit the full $400.00 filing fee within 30 days from the date of entry of
                        this order. The plaintiff is warned that failure to remit the full $400.00 filing fee within 30 days
                        will result in dismissal of this action for failure to prosecute. In that event, the full amount of the
                        filing fee will still be assessed against him and collected from his inmate trust account. Signed by
                        District Judge Aleta A. Trauger on 2/2/16. (xc:Pro se party by regular and certified
                        mail.)(DOCKET TEXT SUMMARY ONLY−ATTORNEYS MUST OPEN THE PDF AND
                        READ THE ORDER.)(am) (Entered: 02/02/2016)

 02/02/2016        Ï4   CERTIFIED MAIL RECEIPT re 3 Order on Application for Leave to Proceed in forma pauperis.
                        (am) (Entered: 02/02/2016)

 02/16/2016        Ï5   The Applicable Law by Anant Kumar Tripati (am) (Entered: 02/16/2016)

 02/22/2016        Ï6   MOTION TO ENLARGE TIME AND AMEND by Anant Kumar Tripati. (am) (Entered:
                        02/22/2016)

 02/22/2016        Ï7   ORDER granting in part 6 Motion To Enlarge Time And Amend. Plaintiff shall have a 30 day
                        extention from the date of the entry of this Order. Signed by District Judge Aleta A. Trauger on
                        2/23/16. (xc:Pro se party by regular and certified mail.)(am) (Entered: 02/23/2016)

 02/23/2016        Ï8   CERTIFIED MAIL RECEIPT re 7 Order. (am) (Entered: 02/23/2016)

 03/04/2016        Ï9   GREEN CARD RETURNED Executed as to Anant Kumar Tripati 7 Order. (am) Modified on
                        3/7/2016 (am). (Entered: 03/07/2016)
             Case 4:16-cv-00282-DCB-PSOT                 Document 23          Filed 05/18/16        Page 4 of 4
03/09/2016    Ï 10   MOTION for Reconsideration re 7 Order on Motion for Miscellaneous Relief by Anant Kumar
                     Tripati. (am) (Entered: 03/10/2016)

03/15/2016    Ï 11   ORDER denying 10 Motion for Reconsideration re [7} Order. The plaintiff shall have an
                     additional 14 days from his previous deadline, until April 6, 2016, to submit the $400 fee for this
                     action, and is warned that the failure to do so will result in dismissal of his action for failure to
                     prosecute and the assessment of the fee against his inmate trust account. The plaintiff's
                     submission must reflect the matter number assigned to this case: 3:16−cv−00076. Signed by
                     District Judge Aleta A. Trauger on 3/15/16. (xc:Pro se party by regular and certified
                     mail.)(DOCKET TEXT SUMMARY ONLY−ATTORNEYS MUST OPEN THE PDF AND
                     READ THE ORDER.)(dt) (Entered: 03/15/2016)

03/15/2016    Ï 12   CERTIFIED MAIL RECEIPT re 11 Order. (dt) (Entered: 03/15/2016)

03/21/2016    Ï 13   AMENDED MOTION TO EXTEND TIME by Anant Kumar Tripati. (am) (Entered: 03/22/2016)

03/24/2016    Ï 14   GREEN CARD RETURNED Executed as to Anant Kumar Tripati 11 Order. (am) (Entered:
                     03/24/2016)

03/31/2016    Ï 15   MOTION TO FIX FIRST AMENDED COMPLAINT 1 Complaint, by Anant Kumar Tripati.
                     (Attachments: # 1 Attachment − First Amended Complaint)(am) (Entered: 03/31/2016)

04/01/2016    Ï 16   ORDER granting 13 Motion TO EXTEND TIME. The plaintiff has until the close of business on
                     Monday, May 2, 2016 (the first business day after April 30), to submit the full $400 payment.
                     Signed by District Judge Aleta A. Trauger on 4/1/16. (xc:Pro se party by regular and certified
                     mail.)(DOCKET TEXT SUMMARY ONLY−ATTORNEYS MUST OPEN THE PDF AND
                     READ THE ORDER.)(am) (Entered: 04/01/2016)

04/01/2016    Ï 17   CERTIFIED MAIL RECEIPT re 16 Order. (am) (Entered: 04/01/2016)

04/11/2016    Ï 18   GREEN CARD RETURNED Executed as to Anant Kumar Tripati 16 Order. (am) (Entered:
                     04/11/2016)

05/02/2016    Ï 19   MOTION TO ABATE TIME by Anant Kumar Tripati. (am) (Entered: 05/03/2016)

05/04/2016    Ï 20   Letter from Financial sending personal check for filing fee back to Kristnamma Tripati, the
                     Clerk's Office does not accept personal checks for the payment of filing fees . (am) Modified Text
                     on 5/11/2016 (am). (Entered: 05/04/2016)

05/16/2016    Ï 21   RECEIPT #34675041171 in the amount of $400.00 posted by Anant Kumar Tripati re 1
                     Complaint. (am) (Entered: 05/16/2016)

05/17/2016    Ï 22   ORDER: Accordingly, IT IS ORDERED that this case be transferred to the United States District
                     Court for Arizona, Tucson Division, pursuant to 28 U.S.C. § 1404(a). The court notes again that it
                     has not reviewed the plaintiff's complaint under the PLRA, and his complaint and pending
                     motions are more appropriately reviewed by the transferee court. Signed by District Judge Aleta
                     A. Trauger on 5/17/16. (xc:Pro se party by regular and certified mail.)(DOCKET TEXT
                     SUMMARY ONLY−ATTORNEYS MUST OPEN THE PDF AND READ THE ORDER.)(am)
                     (Entered: 05/17/2016)
